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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ALABAMA

JANE BROWN, on behalf of herself and
as Personal Representative and Executrix of
the Estate of Jimmie Charles Brown

 

 

Plaintiffs, CIVIL ACTION N():
vs.
FAIRHOPE YACHT CLUB
Defendant.
COMPLAINT

Statement of the Parties

1. Plaintift`, Jane Brown, is the widow of Jirnrnie Charles (“J.C.”) Brown and the
Personal Representative and Executrix of the Estate of Jimmie Charles Brown. She is an adult
resident of Mobile, Mobile County, Alabama.

2. Defendant Fairhope Yacht Club (“the Yacht Club”) is an Alabama Domestic
Non-Profit Corporation, with its principle place of business located at 101 Volanta Avenue,
Fairhope, Alabama 36532, and mailing address of P. O. Box 1327, Fairhope, Alabama 36533-
1327.

3. 'l`his Court has subject matter jurisdiction over this case under the General
Maritime Law of the United States, as the facts and circumstances giving rise to Plaintiffs’
causes of action occurred in navigable waters and bear a substantial relationship to traditional
maritime activity.

Statement of the Facts

4. On April 25, 2015, the Defendant sponsored and hosted a boat race that began in

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Baldwin County, Alabama, and concluded in Mobile County, Alabama, at Dauphin Island.

5. In the months leading up to the race, the Yacht Club’s Race Committee, the group
responsible for the planning and safe conduct of the race, chose not to develop any form of safety
plan to respond to emergencies that might arise during the race, nor did the Committee create
any Weather plan to inform its decision-making in the event of severe weather.

6. The Yacht Club also applied to the United States Coast Guard for a permit to
conduct the 2015 Dauphin Island Race. In its application, the Yacht Club represented to the
USCG that no unusual hazards to participants would be introduced into the Regatta Area. While
the Yacht Club listed no vessels it Was providing for safety purposes on its USCG permit
application, it represented that its deemed its patrol adequate for safety purposes, and requested
no Coast Guard or Coast Guard Auxiliary Patrol.

7. ln issuing a permit to the Yacht Club, the USCG made it clear that the Yacht Club
is responsible for the safe conduct of the event, including, but not limited to, instruction to and
qualification of participants, safety equipment inspections, and rescue and first aid facilities The
Coast Guard also instructed the Yacht Club that it “must be constantly aware of weather
forecasts and conditions so that unsafe conditions can be identified and responded to, including
termination of the event if necessary to ensure safety of all participants.” The Coast Guard
permit specifically stated that: “This permit is issued on the condition that the sponsor furnish a
sufficient number of rescue vessels to provide adequate safety for all participants These vessels
must be adequately identified as Event Committee Boats. They are direct representatives of the
sponsor who is responsible for briefing and coordinating each vessel’s operation ensuring
positive control for the event.”

8. On the night before the boat race, the Yacht Club hosted a party from 5:00 pm to

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11100 pm for race participants at which alcohol was provided. The Yacht Club incentivized race
participants with trophies and winner’s lists that are prestigious in the yachting community The
Yacht Club also solicited sponsorships for the race that placed pressures on the Yacht Club to not
cancel the race.

9. The National Oceanic and Atmospheric Administration’s (NOAA) weather
forecast issued on April 24. 2015 at 6:11 pm indicated that severe thunderstorms were possibly
headed towards the Mobile Bay area.

10. On the morning of the race, April 25, 2015, NOAA’s weather forecast at 3:48 am
indicated severe thunderstorms possible near the l\/lobile Bay area. The National Weather
Service in Mobile, AL also issued severe thunderstorm warnings for Mobile and Baldwin
Counties the morning of the yacht race. The Yacht Club then hosted a breakfast event from 7:30
am to 8:30 am for race participants at which alcohol was provided and/or encouragedl The race
was scheduled to begin at 9:30 am.

1 lt At approximately 7:44 arn on the day of the race, the Yacht Club caused a
cancellation notice to be posted on its website for about 30 minutes stating that the race had been
cancelled due to inclement weather The cancellation notice was removed at the direction of the
Yacht Club at about 8:10 am.

12. Prior to the start of the race, all participants were informed that the Yacht Club
would communicate with race participants on Channel 68 of the VHF radio band.

13. Due to the Yacht Club’s original decision to cancel the race, the start time was
delayed The Yacht Club also ordered a restart of the already delayed race that further delayed
the official start. The race began at 11:00 am instead of the originally scheduled 9:30 am start

time. ln all, approximately 476 people were on board 117 boats when the yacht race began after

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the restart.

14. At about 1:35 pm, the Storm Prediction Center posted another severe
thunderstorrn watch for the area including Mobile Bay.

15. At about 2:21 pm the National Weather Service in Mobile issued another severe
thunderstorm warning for Mobile County as a line of storms began to approach from the western
border of Alabama.

16. At approximately 2:30 pm the United States Coast Guard (“USCG”) called the
Race Committee aboard the Race Committee Boat at the finish line via telephone and advised
that potentially severe weather was incoming Sometime shortly thereafter, the USCG made a
VHF radio transmission to the Race Committee Boat stating that it was “on station” nearby.

17. At about 2:47 pm the National Weather Service issued a second severe
thunderstorrn warning, this one for the Baldwin County area.

18. At about 3:10 prn the storm entered Mobile Bay from the west.

19. As a result of the delays, most of the boats in the race were still in Mobile Bay at
3110 pm.

20. At about 3:15 pm Ivliddle Bay Lighthouse recorded a wind gust of 73 MPH,
which is one MPl-l under hurricane strength.

21. ln addition to the land warnings, marine wamings were also issued.

22. As the deadly storm entered lvlobile Bay, the Yacht Club’s Principal Race Officer,
Anne Fitzpatrick, and Race Committee Co-Chairman, John Hirsch, occupied a forty-eight (48)
foot motor yacht positioned at the finish line near Danphin lsland. 'l` his vessel, owned and/or
controlled by Mr. Hirsch and/or l`\/Is. Fitzpatrick as representatives of the Yacht Club, was

capable of safely rendering assistance to nearby boats in danger of sinking However, despite

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their awareness of the danger faced by nearby race participants, l\/ls. Fitzpatrick and Mr. Hirsch
chose not to participate in any rescue efforts until the storm had passed.

23. During the storm, the boat carrying J.C. Brown capsized in the Mobile County
side of Mobile Bay, and he drowned. A total of ten (10) boats sank during the yacht race, putting
forty (40) people into the water, six (6) of whom, like J.C. Brown, lost their lives.

24. J.C. Brown’s body was never recovered

COUNT ONE - Wrongful Death/Negligence

25. Plaintiffs Jane Brown realleges paragraphs one through twenty-four of the
Complaint.

26. At the aforementioned time and place, Defendant Fairhope Yacht Club sponsored
a yacht race and had a duty to exercise due care for race participants The Yacht Club negligently
chose to reverse its decision to cancel the race due to the threat of inclement weather.

27. The negligent decision by the Yacht Club to cancel and then resume the race
resulted in a delay of one and a half (l 1/2) hours in the start of the race, which caused the boat
occupied by J.C. Brown to be positioned directly in the path of the storm, on the Mobile County
side of Mobile Bay.

28. By not cancelling or suspending the race when severe weather was possible, and
then imminent, because of its own concerns to satisfy its obligations to sponsors and others, the
Yacht Club continued to negligently induce and incentivize race participants to race in extremely
dangerous severe weather.

29. During the race, the Defendant also negligently failed to warn the race
participants of the approaching severe weather system of which it was aware.

30. The Yacht Club also negligently or willfully violated its USCG permit by not

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providing for sufficient safety and rescue boats, by failing to be constantly aware of weather
forecasts and conditions so that unsafe conditions could be identified, by not communicating
with participants regarding unsafe conditions, and by not terminating the event to ensure the
safety of all participants

3l. These actions were a breach of the Yacht Club’s duty to exercise reasonable or
due care as identified in the applicable USCG permit and the US Sailing Association’s Race
Management Handbook. As a proximate consequence of the negligence of Defendant Fairhope
Yacht Club, J.C. Brown was killed.

COUNT TWO - Failure to Provide Mce at Sea

32. Plaintiff lane Brown realleges paragraphs one through thirty-one of the
Complaint.

33. When the storm entered Mobile Bay, John Hirsch and Anne Randy Fitzpatrick, as
the skippers or persons in charge of the Yacht Club Race Committee Boat anchored at the finish
line, bore a duty under 46 U.S.C.A. § 2304 to render assistance to nearby vessels, including the
one occupied by J.C. Brown. Mr. Hirsch and Ms. Fitzpatrick were aware or should have been
aware, in their capacity as Race Officials, of the general location of these vessels and the
imminent danger faced by their occupants Moreover, they understood that the Race Committee
vessel, a 423-foot Hatteras motor yacht, and its ten (10) occupants, were capable of safely
rendering assistance to the stranded race participants, including J.C. Brown. Nonetheless, they
chose to do nothing and waited not only until the storm passed, but the scheduled end time of the
race_. nearly two hours after the storm passed, before joining rescue efforts already underway.

34. Mr. Hirsch’s and Ms. Fitzpatrick’s deliberate inaction was a breach of their duty

to render assistance to J.C. Brown under 46 U.S.C.A. § 2304. As a proximate consequence, .l.C.

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Brown died, and his body was never recovered

35. Furthermore, because Mr. Hirsch and Ms. Fitzpatrick were, at all relevant times,
acting in their capacity not only as the Yacht Club’s Officers, but also as the Co-Chairmen of its
Race Committee, the Yacht Club is vicariously liable for their actions.

COUNT THREE ~ Wanton or Gross Neg§gence

36. Plaintiff Jane Brown realleges paragraphs one through thirty-five of the
Complaint.

37. At the aforementioned time and place, Defendant Fairhope Yacht Club wantonly
disregarded its duty to warn the race participants, in particular the Skipper of the boat occupied
by J.C. Brown, of the severe weather alerts being issued by the various news and weather outlets,
and directly by the USCG, as well as to act by cancelling the yacht race.

38. The Yacht Club’s decisions placed its own interests above the safety of race
participants despite the knowledge of severe and dangerous conditions, and without regard to its
obligations under its USCG permit and as a member of US Sailing Association sponsoring such
a race, evidencing the Yacht Club’s wantonness.

39. As a proximate consequence of the wantonness or gross negligence of Defendant
Fairhope Yacht Club, J.C. Brown was killed, and his body was never recovered

DAMAGES

40. As a direct and proximate result of the negligent, grossly negligent and wanton

conduct of Defendant Fairhope Yacht Club, Plaintiff lane Brown suffered injury, specifically:
a. She has been deprived of the support she would have been provided by her

deceased husband, J.C. Brown, in an amount to be proved at trial but no
less than $500,000.00, plus prejudgment interest;

b. She has been deprived of the value of services that her husband, J.C.
Brown, customarily performed for her;

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c. She has been deprived of the love, affection. care, attention.
companionship. comfort, and protection of her husband, J.C. Brown;

d. She Was required to expend $700.00 for J.C. Brown’s memorial expenses,
and $800 for a burial plot that ended up being unnecessary because J.C.
Brown’s was never recovered; and,

e. She has also expended in excess of $3,000 to have J.C. Brown declared
legally dead because his body was never recovered

41. As a direct and proximate result of the negligent, grossly negligent and wanton
conduct of Defendant Fairhope Yacht Club, J.C. Brown suffered severe pain and suffering and
mental anguish from the time he became aware of his imminent death to the point at which he
died Plaintiff prays for an award of such pain and suffering damages in an amount to be
determined at trial.

42. As a direct and proximate result of the grossly negligent and wanton conduct of
Defendant Fairhope Yacht Club, Plaintiff prays for an award of punitive damages against
Fairhope Yacht Club in an amount to be determined at trial.

43. WHEREFORE, PREMISES CONSIDERED, Plaintiff Jane Brown demands
judgment against Defendant Fairhope Yacht Club in such amount of compensatory and punitive
damages as the Court may award as well as her costs, attorney’s fees and prejudgment interest.

Respectfully submitted this the Mday of February, 2018.

JANE BROWN

By'. /s/ .lames J. Crongever, Jr.
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